           Case 3:20-cr-00249-RS       Document 561-1      Filed 02/13/25     Page 1 of 3

                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA

                                     Case No: 20-cr-00249-RS-1
                                    Case Name: USA v. Andrade

                            TRIAL SHEET, EXHIBIT and WITNESS LIST

JUDGE:                           GOVERNMENT ATTORNEYS:                 DEFENSE ATTORNEYS:
Richard Seeborg                  David Ward, Christiaan Highsmith,     Michael Shepard, Kerrie Dent,
                                 Matthew Chou                          Cindy Diamond, Dainec Stefan
TRIAL DATE:                      REPORTER(S):                          CLERK:
2/13/2025                        Stephen Franklin                      Corinne Lew

PLF        DEF DATE/TIME
NO.        NO. OFFERED   ID           REC     DESCRIPTION                                        BY
               2/13/2025
                  8:08 am –                   Court convened. Counsel present. Parties
                  8:30 am                     discussing matters outside the presence of the
                                              jury.

                                              The following two exhibits are admitted 1501.012
                                              and 1501.015 in place of 1501A and 1501B that
                                              were admitted on 2/12/2025.

1501.012          8:10 am       X     X       Commission breakdown statement of B. Darrow.
1501.015          8:10 am       X     X       Commission breakdown statement of B. Darrow.
                  8:32 am                     Jury Present
                  8:32 am                     Government calls witness Benjamin Boyer. Direct
                                              by C. Highsmith.
727               8:40 am       X     X       Dillman sending Boyer the AML 2-pager.
728               8:44 am       X     X       The 2-pager that Dillman sent externally,
                                              including to Ben Boyer at FBI-PHY-069002 (Dec.
                                              26, 2017)
626               8:59 am       X     X       FBI screenshot of AML Bitcoin website.
869               9:01 am       X     X       Boyer0007446
731               9:04 am       X     X       Email from Ben Boyer to J. Dillman date 12/27.
                                              2017.
733               9:06 am       X     X       Boyer0000037_Confidential
734               9:09 am       X     X       Email to J. Dillman dated 1/8/2018.
1224              9:15 am       X     X       Chase Bank x7620 David Salmon Statement
740               9:21 am       X     X       Email from AML Bitcoin dated 3/26/2018.
602               9:35 am       X     X       Mata emails Andrade the purchase agreement.
                  9:48 am                     Cross of witness B. Boyer by D. Stefan.




                                                  1
            Case 3:20-cr-00249-RS          Document 561-1      Filed 02/13/25   Page 2 of 3

                                    Case No: 20-cr-00249-RS-1
                                    Case Name: USA v. Andrade
                                      Date: February 13, 2025

       Courtroom Deputy: Corinne Lew             - Court Reporter:    Stephen Franklin

                           EXHIBIT and WITNESS LIST CONTINUED

PLF    DEF DATE/TIME
NO.    NO. OFFERED           ID        REC     DESCRIPTION                                           BY
           10:00 am                            Break
              10:18 –                          Court reconvened. Counsel present discussing
              10:21 am                         matters outside the presence of the jury.
              10:22 am                         Jury Present
              10:23 am                         Resume cross of witness B. Boyer by D. Stefan.
              11:01 am                         Re direct of B. Boyer by C. Highsmith.
381           11:05 am       X         X       Andrade Rolls Royce Picture.
              11:07 am                         Re cross of B. Boyer by D. Stefan.
              11:09 am                         Witness B. Boyer excused.
              11:09 am                         Government calls witness Rene Acuna. Direct by
                                               C. Highsmith.
236           11:15 am       X         X       Email to R. Acuna from Support Aten Coin dated
                                               7/23/2014.
231           11:17 am       X         X       Purchase Agreement.
              11:33 am                         Cross of witness R. Acuna by D. Stefan.
              11:42 am                         Re direct of witness R. Acuna by C. Highsmith.
              11:45 am                         Re Cross of witness R. Acuna by D. Stefan.
              11:46 am                         Witness R. Acuna excused.
              11:46 am                         Government calls witness Scott Bruffey. Direct by
                                               C. Highsmith.
852           11:50 am       X         X       Published article: Ferrara, “AML Bitcoin Strides
                                               Onto the World Stage”
875           11:54 am       X         X       Email invoice.
1502          11:55 am       X         X       Photo of Dec. 8, 2017 Bruffey invoice for $100
1504          11:57 am       X         X       Email from iamlbitcoin to Bruffey re listing and 6-
                                               month timeline dated 12/16/17.
              12:02 pm                         Break
              12:02 pm                         Court and counsel discussing matters outside the
                                               presence of the jury.

              12:18 pm                         Court reconvened.
              12:18 pm                         Jury Present.
              12:18 pm                         Resume direct of witness S. Bruffey by C.
                                               Highsmith.

                                                    2
              Case 3:20-cr-00249-RS       Document 561-1     Filed 02/13/25    Page 3 of 3


                                      Case No: 20-cr-00249-RS-1
                                      Case Name: USA v. Andrade
                                        Date: February 13, 2025
     Courtroom Deputy: Corinne Lew           - Court Reporter:  Stephen Franklin

                             EXHIBIT and WITNESS LIST CONTINUED

PLF      DEF DATE/TIME
NO.      NO. OFFERED           ID     REC     DESCRIPTION                                        BY
             12:26 pm                         Cross of witness S. Bruffey by K. Dent.
               12:27 pm                       Re direct of witness S. Bruffey by K. Dent.
               12:29 pm                       Witness S. Bruffey excused.
               12:32 pm                       Government calls witness Brian Darling. Direct
                                              by D. Ward.
666            12:45 pm        X      X       Purchase Agreement
241            12:50 pm        X      X       AML BitCoin Post Log.
196            12:54 pm        X      X       Published article: Darling
173            1:03 pm         X      X       AML BitCoin Mail.
506            1:08 pm         X      X       Article AML
70             1:10 pm         X      X       Abramoff emails Brian Darling and ccs Andrade.
195            1:13 pm         X      X       Article
               1:30 pm                        Jury excused for the day-return on 2/14/2025 at
                                              8:30 am. Counsel to appear at 8:00 am.
               1:30 – 1:32                    Court and counsel discussing matters outside the
               pm                             presence of the jury.
               1:32 pm                        Court in recess.




                                                   3
